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AO 245B         (Rev 09/I1) Judgment in a Criminal Case
                S1ws I



                                              UNITED STATES DIS'irfticT COURT
                                                          MIDDLE DISTRICT OF ALABAMA

                UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                      V.                                    )

                       FREDRICK LEE GIBBS                                            Case Number: 2:13cr287-0-WKW

                                                                                     USM Number: 14953-002

                                                                                      Daniel Gary Hamm
                                                                                     Defendant's Atoriiey
THE DEFENDANT:
   pleaded guilty to count(s)              4, 5 and 8 of the Indictment on 02/28/2014
El pleaded nolo contendere to COUlIt(S)
   which was accepted b y the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty ofthesc offenses:

Title & Section                      Nature of Offense                                                            Offensi Ended            Count

 21:841(a)(1); 18:2                   Distribution of Cocaine Powder; Aiding and Abetting                          0711C'2013              4

 21:841(a)(1); 18:2                   Distribution of Cocaine Powder; Aiding and Abetting                          0711C'2013               5

 21 :841(a)(1)                        Distribution of Cocaine Base                                                 07/1C2013                8




[1 Sc additional count(s) oii pa ,,, c 2

      The defendant is sentenced as provided in pages 2 through 6 ut this judgment. The sentence is iii posed pursuant to the
Sentencing Reform Act of 1984
E The defendant has been found not guilty on count(s)
   LoliTlt(S)     1, 6 and 7                                fl is      'are dismissed oil the motion of the United States.

         It is ordered that the defendant mist notii' the United States attorney lbr this district witbin 30 da ys ifany change of name, residence,
or mailing address until all fines, restitution cots and spccial assessments imposed by tIns judgment are rull piid Ii ordered to pay restilution
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           06/18/2014
                                                                            Dale oft mpos tm ii ol .ludgiricn I




                                                                                *


                                                                            Signature of Fudge


                                                                           W. KEITH WATKINS, CHIEF U.S. ['ISTRICT JUDGE
                                                                            Nainc of Fudge                                Title of Judge


                                                                          __7.2.i%j:
                                                                            Date
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AD 245B         (Rev 09/1 1) Judgment in a Criminal Case
V1              Sheet 2— Imprisonment

                                                                                                                       Judgment Page: 2 of 6
     DEFENDANT: FREDRICK LEE GIBBS
     CASE NUMBER: 2:13cr287-03-WKW


                                                                     IMPRISONMENT

               The defendant is hereby committed to the custody of the United Stales Bureau of Prisons lobe impr ;oned for a
     total term of.-

     70 Months. This term consists of 70 months as to Counts 4, 5 and 8 to be served concurrently.




             The court makes the following recommendations to the Bureau of Prisons:

     The Court recommends that defendant be designated to a facility where intensive drug treatment and educational and
     vocational training are available.


             The defendant is remanded to the custody of the United States Marshal.

         E The defendant shall surrender to the United States Marshal for this district:
             E at          .             _________           a. m,    E p.m.       on

             El as notified by the United States Marshal.

         E The defendant shall surrender for service of sentence at the institution designated by the Bureau ollrisons:
             E before                   on

             El as notified by the United States Marshal.

             El as notified by the Probation or Pretrial Services Office,


                                                                         RETURN
     I have executed this judgment as follows:




             Defendant delivered on                                                             to

     a                                                     , with a certified copy of this judgment.



                                                                                                          UNITED STAT S MARSILAL


                                                                                 By
                                                                                                       DEPUTY UNITED SATES MARSHAL
                           Case 2:13-cr-00287-WKW-CSC Document 159 Filed 07/02/14 Page 3 of 6


 AO 245B              (Rev, 091 I) Judgment in a Criminal Case
 vi                    Sheet 3— Supervised RIease


  DEFENDANT: FREDRICK LEE GIBBS                                                                                                  Judgment Page: 3 of
  CASE NUMBER: 2:13cr287-03-WKW
                                                                 SUPERVISED RELEASE
  Upon release from imprisonment, the defendant shall he on supervised release for a term o
  4 Years. This term consists of 4 years as to Counts 4, 5 and 8 to run concurrently.


          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
  custody of ihe Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any on awful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at1cast two periodic drug tests
  thereafter, as determined by the court.
                The above drug testing condition is suspended, based on the court's determination that the defendant p;ises a low risk of
                future substance abuse. Check, i/applicable.)

                The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weaRon. (Check. 1/applicable.)
                The defendant shall cooperate in the collection of DNA as directed by the probation officer. Check, fc:nlicable)

      F1 The defendant shall comply with the requirements of the Sex Offender Registration and Notification At (42 U.S.C. § 6901, el seq.)
          as directed by the probation officer, the Bureau 01 Prisons, or any state sex offender registration anenc in which he or she resides,
          works, is a student, or was convicted ofa qualifying offense. (Check, i/applicable.)

      F1        The defendant shall participate in an approved program for domestic violence. (Check. i/applicable)
              If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
      Schedule of Payments sheet of this judgment.
            The defendant must comply with the standard conditions that hac been adopted by this court as we as with any additional conditions
  on the attached page.

                                                  STANDARD CONDITIONS OF SUPERVISION
I)               the defendant shall not leave the judicial district without the permission of the court or probation officer;
        2)       the defendant shall report to the probation officer ill a manner and frequency directed by the court or robation officer;
           3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
        4)       the defendant shall support his or her dependents and meet other family responsibilities;
           5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
                 acceptable reasons;
        6)       the defendani shall notify the probation officer at least ten days prior to any change in residence or employment;
           7)    the defendant shall refrain from excessive use (if alcohol and shall not purchase, possess, use, distribi, c, or administer any
                 controlled substance or any paraphernalia related to any controlled substances, except as prescribed b' a physician;
           8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distribute.I, or administered:
        9)       the defendant shall not associate with any persons engaged in criminal activity and shall not associate vith any person convicted ol'a
                 felony, unless granted permission to do soby the probation officer;
       10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
                 contraband observed in plain view of the probation officer:
           t) the defendant shall notify the probation officer within seventy-two hoursof being arrested or questiom:d by a law enforccimnt officer;
       12)       the defendant shall not enter into any agreement to act as an informer or a special agent ot'a law enfo:cemnt agency without the
                 permission of the court; and

       13)       as directed by the probation officer, the defendant shall notitc third parties ot'risks that may he oecasiclled by the defendant's criminal
                 record or perSonal history or characteristics and shall peril
                                                                            m tile probation officer to make such notili:aiions and to confirm the
                 defendant s compliance with such notification requi rement.
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AO 245B        (Rev. 09 1 I 1) Judgment in a Criminal Case
V1             Sheet 3C - Supervised Release


                                                                                                            Judgment Page: 4 of 6
 DEFENDANT: FREDRICK LEE GIBBS
 CASE NUMBER: 2:13cr287-03-WKW

                                               SPECIAL CONDITIONS OF SUPERVISION

     Defendant shall participate in a program approved by the United States Probation Office for sub;tance abuse, which will
     include testing to determine whether he has reverted to the use of drugs. Defendant shall contr bute to the cost of any
     treatment based on ability to pay and the availability of third-party payments.

     Defendant shall participate in a program of drug testing administered by the United States ProbaHon Office.

     Defendant shall participate in educational classes in an effort to obtain a GED.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the sea ch policy of this court.
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AO 245B         (Rev. 09/11) Judgment in a Crirnnai Case
V1               Sheet 5 - Criminal Muneniry PnaIus

                                                                                                                         Judgment Page: 5 of 6
     DEFENDANT: FREDRICK LEE GISSS
     CASE NUMBER: 2:13cr287-03-WKW
                                                   CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 5.

                         Assessment                                        Fine                              Restil'.ition
     TOTALS           $ 300.00                                         S                                  S $0.00


     U The deerminalion of restitution is deferred until. An .4 mended Judgment in a Criminal ."use (A0245C) will be entered
        after such determination.

     U The defendant must make restitution (including community restitution) to the following payees in the alount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C. 3664(1), all nonfedcral victims must he paid
         hetore the United States is paid.

     Name of Payee                                                   Total Loss*              Restitution Ordere;l Priority or Percentage




 TOTALS                                                                               $0.00                    so. :io


 U       Restitution amount ordered pursuant to plea agreement $

         The defendant must pay interest on restitution and a fine of more than $2,500. unless the restitution or inc is paid in full before the
         fifteenth day after the date of the judgment. pursuant to 18 U.S.C. 3612(t). All of the payment options on Sheet may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 U       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         U the interest requirement is waived for the          El fine U restitution.
         U the interest requirement for the           U fine     U restitution is modified as follows:



  Findings for the total anrunt of losses are required under Chajiers 109A, 110. 1 WA. and 113A of Title 18 )roffcnsescommitted on or after
 September 13. 1994. but before April 23, 1996.
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AO 24513      (Rev. 09/I1) Judgment in a Criminal Case
              Sheet 6— Schedule at Payments

                                                                                                                             Judgment Page: 6 of 6
 DEFENDANT: FREDRICK LEE GIBBS
 CASE NUMBER: 2:13cr287-03-WKW

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as 0. lows:

 A         Lump sum payment of$ 300.00                          due immediately, balance due

                 not later than                                 -     or
           U in accordance                     C,         D,    fl    0., or          F below; or

 B     U Payment to begin immediately (may be combined with                      C.           D, or        F below). 0

 C         Payment in equal                         (e.g. weekly, ntonth/y, quarierIv insiaMments 01' 5                     - -       over a period of
                           (e g, months or years), to commence                       (e.g., 30 or 60 da ys) after the dati: of this judgment; or

 D         Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                         over a period ol'
                           (e g, months or years), to commence         -      -      (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision: or

 E     Fj Payment during the term of supervised release will commence within                    (e.g. 30 or 0 days) after release from
           imprisonment. The court will set the payment plan based on an assessment ol' the defendant's ability to pay at that lime; or

 F         Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payrrnt of crnil'ral monetar y penalties is due during
 imprisonment. Al! crimnalmonetary penalties, except those payments made through the Federal Bureau fPrisons Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penaltic; imposed.




 El Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant mmiher, Total Amount, . oint and Several Amount,
      and corresponding payee, if appropriate.




 U The defendant shall pay the cost of prosecution.

 U     l'he defendant shall pay the following court cost(s):

 U The defendant shall forfeit the defendant's interest in the following property to the United States:



Pay ments shall he applied in the following order: (1) assessment, (2) restitution principal, (3) restitution inleLest. (4) fine principal,
(5) fine interest, (6) communit y restitution, (7) penalties, and (8) costs, including cost of' prosecution and court costs.
